        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 1 of 22

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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

                                      )
NEURALMAGIC, INC.                     )
                                      )
                  Plaintiff,              Civil Action No. 20-CV-10444
                                      )
v.                                    )
                                      )
FACEBOOK, INC. AND ALEKSANDAR         )
ZLATESKI                              )
                                      )
                  Defendants.         )
                                      )
                                      )



              MEMORANDUM IN SUPPORT OF NEURAL MAGIC’S
                       MOTION TO COMPEL
             Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 2 of 22

     HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL


                                                     TABLE OF CONTENTS
                                                                                                                                              Page

PRELIMINARY STATEMENT .......................................................................................................1
BACKGROUND ...............................................................................................................................2
          A.         Facebook Refuses To Identify Responsive Code. .....................................................2
          B.         Facebook Refuses To Produce Responsive Documents............................................7
ARGUMENT ....................................................................................................................................8
          A.         The Source Code At Issue Is Relevant. .....................................................................9
          B.         Defendants Cannot Use Rule 33(d) To Avoid Identifying The Code At
                     Issue. ........................................................................................................................10
          C.         Defendants Cannot Avoid Identifying The Requested Code By Claiming
                     That Facebook Is Not Using “The Accused FBGEMM Code.” .............................13
          D.         This Court Should Compel Defendants To Produce Responsive Documents
                     Cited In Facebook’s Own Productions. ...................................................................15
CONCLUSION ...............................................................................................................................15




                                                                         i
             Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 3 of 22

     HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL


                                                  TABLE OF AUTHORITIES

                                                                    Cases

A&V Fishing, Inc., v. Home Ins. Co.,
  145 F.R.D. 285 (D. Mass. 1993) ................................................................................................. 8

Audatex N. Am. Inc. v. Mitchell Int’l, Inc.,
  No. 13CV1523-BEN BLM, 2014 WL 4961437 (S.D. Cal. Oct. 3, 2014) ................................ 11

Chen-Oster v. Goldman, Sachs & Co.,
  285 F.R.D. 294 (S.D.N.Y. 2012) ............................................................................................... 12

Enargy Power (Shenzhen) Co. v. Xiaolong Wang,
  No. CIV.A. 13-11348-DJC, 2014 WL 4687784 (D. Mass. Sept. 17, 2014) ............................... 8

Facedouble, Inc. v. Face.com, Inc.,
  No. 12CV1584-DMS MDD, 2014 WL 585868 (S.D. Cal. Feb. 13, 2014) ......................... 11, 12

FM Generator, Inc. v. MTU Onsite Energy Corp.,
  No. CV 14-14354-DJC, 2016 WL 8902603 (D. Mass. Aug. 25, 2016) ................................ 9, 10

Laserdynamics, Inc. v. Asus Computer Int’l,
  No. 2:06-CV-348, 2009 WL 153161 (E.D. Tex. Jan. 21, 2009) ......................................... 11, 12

MVS Studio Inc. v. Bingo Bean, LLC,
  No. CV 10-07675 JHN SSX, 2011 WL 10538669 (C.D. Cal. June 24, 2011) ......................... 14

Saint-Gobain Performance Plastics Corp. v. Advanced Flexible Composites, Inc.,
   No. 05-40226-FDS, 2006 WL 8458669 (D. Mass. Oct. 17, 2006) ............................................. 8

Vesta Corp. v. Amdocs Mgmt. Ltd.,
   No. 3:14-CV-01142-HZ, 2017 WL 714354 (D. Or. Feb. 21, 2017) ......................................... 13

                                                       Rules and Regulations

Fed. R. Civ. P. 26(b)(1) ................................................................................................................ 8, 9

Fed. R. Civ. P. 33(d) ............................................................................................................... 5, 9, 10

Fed. R. Civ. P. 37(a)(5)(A) ............................................................................................................. 15

Local Rule 37.1 ................................................................................................................................ 8




                                                                        ii
     Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 4 of 22

HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL


                               NOTES ON CITATIONS

1. Ex. A is a true and correct copy of Neural Magic’s Interrogatory No. 7, along with

   Defendants’ responses and objections and supplemental responses and objection to that

   interrogatory, dated May 7, 2021.

2. Ex. B is a true and correct copy of Neural Magic Supplemental Trade Secret Identification,

   dated March 10, 2021.

3. Ex. C is a true and correct copy of a document produced by Defendants bearing Bates Nos.

   FB00000086–FB0000090.

4. Ex. D is a true and correct copy of a document produced by Defendants bearing Bates Nos.

   FB00004339–FB00004340.

5. Ex. E is a true and correct copy of a document produced by Defendants bearing Bates Nos.

   FB00003315–FB00003316.

6. Ex. F is a true and correct copy of a document produced by Defendants bearing Bates Nos.

   FB00008281–FB00008292.

7. Ex. G is a true and correct copy of a document produced by Defendants bearing Bates Nos.

   FB00003308–FB00003310.

8. Ex. H is a true and correct copy of a document produced by Defendants bearing Bates Nos.

   FB00004294–FB00004295.

9. Ex. I is a true and correct copy of a document produced by Defendants bearing Bates Nos.

   FB00011416–FB00011451.

10. Ex. J is a true and correct copy of the June 11, 2021 correspondence from Facebook’s

   outside counsel Melanie Grindle to Neural Magic’s outside counsel.




                                           iii
     Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 5 of 22

HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL

11. Ex. K is a true and correct copy of Neural Magic’s Request for Production No. 19, along

   with Defendants’ responses and objections to that request, dated January 4, 2021.

12. EX. L is a true and correct copy of a document produced by Defendants bearing Bates Nos.

   FB00004313–FB00004313.

13. Ex. M is a true and correct copy of the March 30, 2020 letter from Facebook’s outside

   counsel Doug Lumish to Neural Magic’s outside counsel Patrick Curran.

14. Ex. N is a true and correct copy of the June 15, 2021 correspondence from Facebook’s

   outside counsel Melanie Grindle to Neural Magic’s outside counsel.

15. Ex. O is a true and correct copy of the July 22, 2021 correspondence from Facebook’s

   outside counsel Melanie Grindle to Neural Magic’s outside counsel.

16. Ex. P is a true and correct copy of the May 26, 2021 correspondence from Facebook’s

   outside counsel Melanie Grindle to Neural Magic’s outside counsel.

17. All emphases herein are added unless otherwise noted.

18. The lettered exhibits above refer to exhibits to the Declaration of Stacylyn Doore, filed in

   connection with this motion.




                                             iv
            Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 6 of 22

    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL


                                 PRELIMINARY STATEMENT

           Neural Magic moves to compel Defendants to respond to interrogatories seeking an

identification of relevant source code for four specific projects that,

use “Dr. Zlateski’s kernels.” See, e.g., Ex. E



              Ex. D

                                                                                        . Facebook

refuses to identify the code Facebook engineers referenced in those Facebook documents, instead

saying Neural Magic is equally capable of finding this material somewhere in the

code files Facebook produced. Rule 33(d) does not permit this effort to obfuscate. Facebook is

uniquely capable of identifying its own code, discussed by its own engineers, in its own document

production.       Neural Magic respectfully requests an order requiring Facebook to make that

identification.

           Defendants also refuse to produce documents quantifying performance improvements,

modeling financial benefits, and laying out productization plans related to Neural Magic’s trade

secrets.




                                                       These documents are responsive to Request for

Production No. 19, which requests Facebook’s business plans, strategic plans, financial plans, and




                                                   1
          Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 7 of 22

    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL

projections relating to sparsity and/or sparse matrix multiplication. Neural Magic respectfully

requests that the Court compel Defendants to produce these underlying documents.

                                          BACKGROUND

        A.      Facebook Refuses To Identify Responsive Code.

        Neural Magic served Defendants with its first set of interrogatories in December 2020.

Interrogatory No. 7 asks Defendants to “[i]dentify all Facebook code that unrolls loops for sparse

matrix multiplication.”1 As described by Neural Magic’s expert during the preliminary injunction

proceedings, “loop unrolling” is a computer programming technique used to streamline repetitive

computer operations. See Dkt. 37 ¶¶ 71–73. Loop unrolling itself was not new –




                                                                                   Facebook knows

what “loop unrolling” is, and knows where it appears in Facebook code – indeed, Facebook

selectively identified loop unrolling in its own code when Facebook believed that identification

would be helpful to its defenses. See, e.g., Ex. O (



                                                          ); Ex. A at 33 (citing documents in support

of its assertion that

                        But with respect to its current production-level code, Defendants refused to

specifically identify any relevant code in response to Interrogatory No. 7, arguing that the request


1
    This interrogatory, as well as Defendants’ responses and objections to the interrogatory, is
attached as Exhibit A to the Declaration of Stacylyn Doore.



                                                  2
           Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 8 of 22

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was too broad. Although Neural Magic disagreed, it offered to narrow this request to four specific

projects

                                                                These four projects include:

         Facebook Ads.




         Facebook’s ARM-Supported Products, including Portal Devices.




2
    A sparse kernel is a programming algorithm underlying sparse matrix multiplication operations.




                                                 3
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 9 of 22

    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL




       Facebook’s RoBERTa Project.




       Facebook’s Language and Translation Technologies (LATTE) Projects.




       Facebook code or kernels that unroll loops for sparse matrix multiplication are directly

relevant and Facebook has an obligation to identify them. Months ago, this Court rejected



3
    Facebook’s most recent June production shows that, despite its many protestations to the
contrary,




                                              4
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 10 of 22

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Defendants’ prior attempt to artificially cabin discovery, and found that Neural Magic had defined

its trade secrets with sufficient particularity to allow discovery to proceed. See Dkt. 142 (Sealed

Ruling on Motion to Compel, Dkt. 112). The supplemental statement served on March 10, 2021

provided Defendants with even more detail about Neural Magic’s trade secrets. See Ex. B.

Defendants understand the trade secrets at issue, and should not be permitted to ignore the Court’s

prior order in another attempt to block discovery. Defendants’ continued attempt to feign ignorance

about the “loop unrolling” code sought by Neural Magic’s interrogatory (see Ex. A at 34) cannot

be squared with the fact that, as mentioned above, Defendants appear to have no problem

identifying code that purportedly shows Facebook’s prior use of the loop unrolling techniques at

issue. See Ex. O (



               ); Ex. A at 33.

       Despite these facts, Facebook has refused to identify where within these projects work

based on Zlateski’s kernels, including loop unrolling techniques, can be found. Instead, Facebook

has made available for inspection “full code repositories

                                  – and invoked Federal Rule of Civil Procedure 33(d), asserting

that the burden of identifying responsive code is substantially the same for either party. See Ex. A

at 34–35 (Defs.’ Second Supp. Resp. to Interrog. No. 7). Since this codebase was made available,

Neural Magic has inspected Facebook’s code over 7 days and has been unable to locate the

requested code. When Neural Magic has tried to perform searches on Facebook’s codebase, these

searches have taken hours to complete. Some searches failed to complete before the end of Neural

Magic’s inspection – and Facebook refused to allow those searches to continue overnight so that

they would be ready for an inspection scheduled for the next day. After encountering these




                                                 5
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 11 of 22

    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL

difficulties and faced with a vast amount of unresponsive Facebook source code to search through,

Neural Magic asked Facebook to – at the very least – identify where production-level code related

to Portal products could be found. Facebook pointed Neural Magic to a repository labeled

                                                    without any further explanation of where within

that repository the relevant code could be found. See Exs. P & N.

       Defendants have also avoided identifying the requested code by asserting that Dr. Zlateski’s

code has not been used in some of the identified projects. See Ex. J (Grindle June 11 Email) (“The

accused code ‘has not been used in production-level Facebook projects.’ . . . ‘The ‘Portal,’ ‘ARM,’

and ‘RoBERTa’ work that NMI has identified did not use the accused code and/or was abandoned

before any code was landed in Facebook’s production-level code.’”) (quoting Defs.’ Resp. to

Interrog. No. 13)4; Ex. O (Grindle July 22 Email) (“[T]he Portal, ARM, and RoBERTa work that

NMI has identified did not use the accused code or Dr. Zlateski’s work and/or was abandoned

before any code was landed in production-level code.”). But Neural Magic’s trade secrets are not

limited to the particular code created by Dr. Zlateski. See Ex. B. And Defendants already tried to

limit Neural Magic’s trade secrets to specific implementations of code. See Dkt. 115. This Court

rightly rejected that attempt. See Dkt. 142 (Sealed Ruling on Motion to Compel, Dkt. 112).

Additionally,



         Regardless, Neural Magic’s trade secrets are not limited to any specific code, and any use


4
 This response closely tracked earlier Facebook commitments not to use the “accused code” or any
other derivative works – carefully avoiding any commitment not to use the algorithms or kernels
underlying the code at issue. See Ex. M (Lumish Mar. 30 Ltr.).




                                                6
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 12 of 22

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of trade secrets Dr. Zlateski misappropriated is relevant without regard to whether the specific

FBGEMM code itself is employed.

       B.      Facebook Refuses To Produce Responsive Documents.

       Facebook’s productions to date have included communications that reference certain other

non-produced documents that are clearly responsive to Neural Magic’s discovery requests. Neural

Magic’s Request for Production No. 19 seeks documents and communications “relating to

Facebook’s business plans, strategic plans, operating plans, marketing plans, financial plans, sales

plans, investment plans, market studies, and target market, including projections for revenue

generation and profitability, relating to sparsity and/or sparse matrix multiplication.” See Ex. K.




                                                           The documents referenced in these

communications are responsive to Neural Magic’s Request for Production No. 19. The documents

are also clearly relevant to show the value that Facebook placed on Neural Magic’s trade secrets.

Defendants have not contested their relevance, but have refused to produce these documents unless

they are captured in ESI discovery through the use of search terms. See Ex. N at 1 (Grindle June

15 Email).    Given that these documents are readily identifiable, responsive, and relevant,

Defendants should be compelled to produce them now.


                                                 7
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 13 of 22

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       The parties have met and conferred multiple times on these issues, and exchanged multiple

rounds of emails. Instead of identifying the requested code, Defendants have repeatedly delayed

and dodged the straightforward questions Neural Magic has asked. See Ex. N at 3 (Gorman June

14 Email); Ex. N at 1 (Grindle June 15 Email); Ex. O (Grindle July 22 Email). The parties are thus

at an impasse.5

                                           ARGUMENT

       Defendants should be compelled to identify: (1) code within Facebook’s codebase that

corresponds to the specific projects referenced above, as well as any other projects deploying

Zlateski’s kernels, and (2) within that code, any instances where Facebook employs kernels based

on Zlateski’s work or uses techniques for loop unrolling. The Court should also compel Defendants

to produce responsive documents referenced in Facebook’s own productions.

       Federal Rule of Civil Procedure 26(b)(1) allows parties to “obtain discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs

of the case.” Fed. R. Civ. P. 26(b)(1). Rule 26 must be “construed broadly to encompass any matter

that bears on, or that reasonably could lead to other matters that could bear on, any issue that is or

may be in the case.” Enargy Power (Shenzhen) Co. v. Xiaolong Wang, No. CIV.A. 13-11348-DJC,


5
  Defendants may argue that the parties are not at an impasse because they have offered to consider
undertaking steps to identify relevant code if Neural Magic provides detailed proposed steps for
such identification beyond Neural Magic’s suggestion that Defendants ask the engineers who wrote
the code for these projects. Such delay tactics should not be rewarded. Neural Magic has been
asking Defendants to identify this relevant code for months, through multiple emails and
conferences. The parties are months into discovery and poised to start taking depositions. No
further delay should be permitted. See A&V Fishing, Inc., v. Home Ins. Co., 145 F.R.D. 285, 286–
87 (D. Mass. 1993) (“The mechanisms of the local rules are designed to resolve or narrow areas of
dispute; they are not to be employed as a stalling tactic by counsel from whom discovery is
sought.”); see also Saint-Gobain Performance Plastics Corp. v. Advanced Flexible Composites,
Inc., No. 05-40226-FDS, 2006 WL 8458669, at *4 (D. Mass. Oct. 17, 2006) (rejecting argument
that a party failed to meet Local Rule 37.1’s meet and confer requirement where resisting parties’
discovery responses had been inadequate and further conferring would have been futile).


                                                  8
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 14 of 22

    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL

2014 WL 4687784, at *2 (D. Mass. Sept. 17, 2014) (internal quotations omitted). In response to a

discovery request within the scope of Rule 26, a party may cite business records pursuant to Federal

Rule of Civil Procedure 33(d); however, the producing party must specify where the answer can

be found within those records and show that the burden of deriving the answer from the specified

documents will be substantially the same for both parties. FM Generator, Inc. v. MTU Onsite

Energy Corp., No. CV 14-14354-DJC, 2016 WL 8902603, at *5 (D. Mass. Aug. 25, 2016). Here,

Defendants should not be permitted to rely on their improper invocation of Rule 33(d) to shirk their

discovery obligations.

       A.      The Source Code At Issue Is Relevant.

       Neural Magic’s trade secrets involve novel ways of arranging and processing computer

instructions to achieve breakthrough improvements in processing speed and efficiency on

commodity central processing units.      Among these trade secrets is a technique




         The foundational trade secret algorithm – or “kernel” –

can be expressed differently in source code depending on the application. Two code files may look

completely different, but nonetheless employ the same underlying kernels. As such, tracking where

these particular kernels have been used within Facebook is highly relevant to show how Facebook

has deployed, repurposed, or otherwise used Neural Magic’s trade secret algorithms.

       Thus, Facebook code that

                         is relevant to Neural Magic’s claims and is responsive to Neural Magic’s

Interrogatory No. 7.




                                                 9
           Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 15 of 22

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                                        Defendants must identify the code referenced in these

documents, and identify where within these projects Zlateski’s kernels can be found.6

       B.      Defendants Cannot Use Rule 33(d) To Avoid Identifying The Code At Issue.

       Defendants improperly invoked Rule 33(d) in responding to Neural Magic’s Interrogatory

No. 7, citing to Facebook’s                           codebase. That is improper, for at least three

reasons:

       First, Facebook cannot generally invoke Rule 33(d) without providing additional specificity

about where relevant code likely resides.       See FM Generator, 2016 WL 8902603, at *6

(“[R]eferring an interrogating party to an entire database of electronically stored information does

not meet the specificity requirement of Rule 33(d).”). Defendants’ responses fail to meet this basic

Rule 33(d) requirement because the limited additional specificity that Defendants have provided

does not meaningfully narrow or identify the possible places in Facebook’s codebase that the code

at issue is likely to be found. For example, in response to Neural Magic’s request for identification

of where relevant production-level Portal code might be, Defendants pointed Neural Magic to a

repository labeled              See Ex. P (Grindle May 26 Email). This repository contains



6
    Facebook has (inaccurately) claimed in its correspondence with Neural Magic that Neural
Magic’s targeted requests are “in effect” equivalent to earlier requests for
                                           See Ex. J at 2. This is patently false. Neural Magic
narrowed its request to specific projects within Facebook. See id. at 3–4; Ex. N at 2–3.


                                                 10
         Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 16 of 22

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               As another example, as for code relating to “Ads with Caffe 2,” Defendants recently

identified the folder located at                                 See Ex. O (Grindle July 22 Email).

But even with respect to this folder, which contains                  Facebook has again failed to

identify the relevant loop unrolling code, by name and filepath, that it contends is responsive to

Neural Magic’s Interrogatory. Defendants’ failure to provide any meaningful specificity about or

locate where relevant code might be found makes their invocation of Rule 33(d) improper on its

face.

        Second, Neural Magic bears a much greater burden than Defendants do navigating

Facebook’s own repositories to find the code at issue. Courts routinely hold that the burden of

sifting through a producing party’s source code to identify relevant information is not the same for

either party. See, e.g., Laserdynamics, Inc. v. Asus Computer Int’l, No. 2:06-CV-348, 2009 WL

153161, at *2 (E.D. Tex. Jan. 21, 2009) (ordering producing party to identify relevant code and

noting it was “implausible for the defendants to contend that the plaintiff stands on equal footing

when it comes to determining how the defendants’ own products operate”); Audatex N. Am. Inc. v.

Mitchell Int'l, Inc., No. 13CV1523-BEN BLM, 2014 WL 4961437, at *7 (S.D. Cal. Oct. 3, 2014)

(ordering defendant who had provided narrative description of software functionalities to

supplement interrogatory response with source code citations); cf. Facedouble, Inc. v. Face.com,

Inc., No. 12CV1584-DMS MDD, 2014 WL 585868, at *2 (S.D. Cal. Feb. 13, 2014) (“Plaintiff

bears a substantially greater burden in determining how Defendant’s software works by examining

Defendant’s source code than does Defendant. After all, engineers employed by Defendant wrote

the code with an object in mind.”).7 There are simple steps Facebook could take to identify the



7
  Notably, Defendants also served an interrogatory asking Neural Magic to identify relevant code
within its database, demanding exacting specificity – down to the file name and line number. See



                                                11
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 17 of 22

    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL

code at issue which Neural Magic cannot – e.g., asking Facebook’s own engineers, especially those

who worked with Dr. Zlateski or worked on the projects and code referenced in Facebook’s own

documents, to identify the requested code. Defendants are also much more familiar with the

structure of Facebook’s codebase, and can navigate that codebase in ways that Neural Magic cannot

– e.g., by running particular searches without being bounded by the time requirements of a day-

long inspection. Defendants are in a substantially better position to identify responsive code and

cannot rely on Rule 33(d) to shirk their discovery obligations. See Laserdynamics, 2009 WL

153161, at *2; Facedouble, 2014 WL 585868, at *2.

       Finally, Defendants cannot avoid their discovery obligations by refusing to respond to

targeted requests for relevant information unless Neural Magic provides a detailed, step-by-step

guide for investigating the issue. Neural Magic has narrowed its request to specific projects and

identified the relevant documents that discuss those projects, as well as some of the engineers

involved who specifically discuss their use of Zlateski’s work. Facebook should be able to identify

this code. Additionally, the parties have extensively briefed the trade secrets at issue in this case.

See Dkts. 32, 37, 43, 45, 115, 119. And, the Court already found – months ago – that Neural Magic

had identified its trade secrets with more than enough detail to allow discovery to proceed. Dkt. 142

(Sealed Ruling on Motion to Compel, Dkt. 112). Defendants cannot feign confusion merely to

impose obligations on Neural Magic beyond what the relevant discovery rules require. Cf. Chen-

Oster v. Goldman, Sachs & Co., 285 F.R.D. 294, 308 (S.D.N.Y. 2012) (after a requesting party

propounds a “legitimate discovery demand,” the producing party’s “obligation is to make




Dkt. 115-12 (Defs.’ Interrog. No. 8). Neural Magic complied. Defendants should be compelled to
do the same.


                                                 12
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 18 of 22

    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL

reasonable efforts to locate and produce information responsive to [that party’s] legitimate

discovery demands”).

       C.     Defendants Cannot Avoid Identifying The Requested Code By Claiming That
              Facebook Is Not Using “The Accused FBGEMM Code.”

       Defendants may claim that there is no additional code to identify because the code

Dr. Zlateski authored was not widely shared within Facebook. See Ex. J (Grindle June 11 Email).

Neural Magic’s trade secrets are not limited to the specific FBGEMM code. Code that uses trade

secrets Dr. Zlateski misappropriated – regardless of whether it employs FBGEMM, or is copied

line-for-line from code Dr. Zlateski wrote – is relevant and responsive to Interrogatory No. 7. If

Facebook employees rewrote the original code that incorporates Neural Magic’s trade secrets, or

used ideas Dr. Zlateski misappropriated from Neural Magic when those Facebook employees wrote

new code, that is highly relevant – regardless of whether that code was copied line-for-line from

“the accused FBGEMM code.” The fact that these projects may not have used the specific code

Zlateski wrote for FBGEMM is irrelevant. Cf. Vesta Corp. v. Amdocs Mgmt. Ltd., No. 3:14-CV-

01142-HZ, 2017 WL 714354, at *2 (D. Or. Feb. 21, 2017) (“Defendants may have stolen Plaintiff's

trade secrets even if Defendants’ source code is not identical to Plaintiff’s source code.”).8

Additionally, Neural Magic should not have to take Defendants’ word on this point: the code

referenced in these documents related to these specific Facebook projects clearly exists, and is



8
  After publishing the accused code on GitHub in November, Facebook took the time to “refactor”
Zlateski’s code “to conform coding style of other fbgemm code,” altering various variable names.
See Dkt. 37 ¶ 151.



                                                                    Code that was refactored or
newly written that nonetheless implements Neural Magic’s trade secret techniques is relevant. Cf.
Vesta Corp. 2017 WL 714354, at *2. Facebook must identify this code.


                                               13
         Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 19 of 22

    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL

responsive to multiple discovery requests. Indeed, the code is highly relevant because Facebook

contends the code was not related to Dr. Zlateski’s work – a contention Neural Magic is entitled to

test. That should end the inquiry. Defendants should be compelled to identify the code at issue.

        Moreover, the record paints a picture squarely at odds with Defendants’ representations

about usage.




                             Up until days before Neural Magic notified Defendants of their

misappropriation,




            Indeed, even if Facebook contends it is not employing the precise FBGEMM code Dr.

Zlateski wrote, Neural Magic is entitled to test that claim by reviewing the code Facebook

employees were referencing in these documents.          Cf. MVS Studio Inc. v. Bingo Bean, LLC, No.

CV 10-07675 JHN SSX, 2011 WL 10538669, at *2 (C.D. Cal. June 24, 2011) (“Although

Defendants argue that the [product] does not so infringe, the inquiry cannot end there. Instead,

Plaintiffs are entitled to access information that is relevant to proving or disproving their allegations.

. . . This generally includes the disclosure of raw data (source code, schematics, formulas, etc.)

sufficient to show the operation of the accused aspects of the products in order to allow the patentee

to make it’s [sic] own determinations as to infringement.”) (alteration in original) (internal citations




                                                   14
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 20 of 22

    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY / FILED UNDER SEAL

and quotations omitted). Facebook’s refusal to identify the code at issue has made such testing near

impossible.

       D.      This Court Should Compel Defendants To Produce Responsive Documents
               Cited In Facebook’s Own Productions.

       Defendants have also refused to produce responsive documents discussed and cited in their

own productions. Specifically, documents that Facebook has already produced reference and

discuss other underlying documents that are responsive to Neural Magic’s Request for Production

No. 19 – yet Defendants have refused to produce these underlying documents. The underlying

documents include business plans relating to sparse matrix multiplication and projections for

profitability and performance improvements achieved by Neural Magic’s trade secrets. Such

documents are responsive to Neural Magic’s Request for Production No. 19. Neural Magic has

pointed Defendants to the specific documents that should be produced and explained why such

documents are responsive.




Defendants have refused to produce these documents unless they are captured in ESI discovery

through the use of search terms. See Ex. N at 1. This Court should order Defendants to produce

these documents.

                                         CONCLUSION

       Neural Magic respectfully requests that the Court compel Defendants to: (1) identify code

for the specific Facebook projects identified herein; (2) within that code, identify any instances



                                                15
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 21 of 22

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where Facebook uses, used, or planned to use Dr. Zlateski’s kernels or techniques for loop

unrolling; and (3) produce the aforementioned documents referenced in Facebook’s productions.

Neural Magic further requests that Defendants be ordered to pay Neural Magic’s reasonable

expenses incurred in making this motion, including attorney’s fees under Rule 37(a)(5)(A), and that

Neural Magic be awarded such other and further relief as the Court deems appropriate.

                                                 Respectfully submitted,

 Dated: August 6, 2021                            /s/ Patrick D. Curran
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                                                16
        Case 1:20-cv-10444-DJC Document 164 Filed 08/12/21 Page 22 of 22

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                                    CERTIFICATE OF SERVICE

       I hereby certify that the above document was served upon attorneys of record by email on

this the 6th day of August, 2021.

                                                         /s/ Patrick D. Curran____________
                                                         Patrick D. Curran
